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   UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT
                    THURGOOD MARSHALL UNITED STATES COURTHOUSE
                                 40 FOLEY SQUARE
                                NEW YORK, NY 10007
                                     212-857-8500




                     NOTICE OF APPEARANCE INSTRUCTIONS
               FOR SUBSTITUTE, ADDITIONAL, OR AMICUS COUNSEL

       The Notice of Appearance for Substitute, Additional, or Amicus Counsel form requires
counsel to provide contact information. It also requires counsel to certify that they have been
admitted to this Court and have complied with all rules regarding admission renewal or that
they have applied for admission to this Court. In accordance with Local Rule 12.3(b), each
attorney acting as substitution or amicus counsel or any attorney other than lead counsel of
record wishing to enter the case must file a separate notice of appearance.

        Counsel must be admitted to the bar of this Court or be otherwise eligible to argue an
appeal. The Court requires written pro hac vice motions filed before filing the notice of
appearance. Admission pro hac vice will be extended as a matter of course to a member of the
bar of a district court within the circuit who has represented a criminal defendant at trial and
continues representation on an appeal taken pursuant to the Criminal Justice Act. See Local
Rule 46.1(d)(1). Counsel, however, are encouraged to apply for general admission to this Court
as soon as they meet the qualifications.

       An attorney who does not immediately notify the Court when contact information
changes will not receive notices, documents and orders filed in the case. Counsel must notify
the Court of a change to the user’s mailing address, business address, telephone number, or e-
mail. To update contact information, a Filing User must access PACER’s Manage My
Appellate Filer Account, https://www.pacer.gov/psco/cgi-bin/cmecf/ea-login.pl. The Court’s
records will be updated within 1 business day of a user entering the change in PACER.

      For information concerning attorney admissions and renewals, visit the court’s website
at www.ca2.uscourts.gov or contact Admissions in the Clerk’s Office at 212-857-8603 or 212-857-
8640.
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                  NOTICE OF APPEARANCE FOR SUBSTITUTE, ADDITIONAL, OR AMICUS COUNSEL


Short Title: Suluki v. Credit One Bank                                  _____             Docket No.: 23-721 ________

Substitute, Additional, or Amicus Counsel’s Contact Information is as follows:

Name: Alisa Tiwari

Firm: Gupta Wessler LLP

Address: 2001 K Street NW, Suite 850 North, Washington, DC 20006

Telephone: (202) 888-1741
                    ___________________________                  Fax:

E-mail: alisa@guptawessler.com

Appearance for: Plaintiff-Appellant
                                                          (party/designation)
Select One:
G Substitute counsel (replacing lead counsel:                                                                       )
                                                          (name/firm)

G Substitute counsel (replacing other counsel:                          _______                                     )
                                                          (name/firm)

G Additional counsel (co-counsel with: Matthew W.H. Wessler
✔                                                                                                                   )
                                                          (name/firm)

G Amicus (in support of:                                                                                            )
                                                          (party/designation)


                                                    CERTIFICATION
I certify that:

 G I am admitted to practice in this Court and, if required by Interim Local Rule 46.1(a)(2), have renewed

my admission on                                                                                                   OR

G I applied for admission on 08/04/2023
✔                                                                                                                   .


Signature of Counsel: /s/ Alisa Tiwari

Type or Print Name: Alisa Tiwari
